     Case 4:18-cv-01652 Document 11 Filed on 08/13/18 in TXSD Page 1 of 13



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

CALVIN EDWARD WEAVER,                      §
TDCJ NO. 820796,                           §
                 Plaintiff,                §
                                           §
v.                                         §     CIVIL ACTION NO. 4:18-CV-1652
                                           §
BRYAN COLLIER, ET AL.,                     §
                Defendants.                §

      DEFENDANTS OWUSU AND GONZALEZ’ MOTION TO DISMISS
                   PURSUANT TO RULE 12(B)

      Defendants Kwabena Owusu, M.D. and Jose Gonzalez, through the Office of

the Attorney General, file this motion to dismiss pursuant to Rule 12(b) of the Federal

Rules of Civil Procedure. In support, Defendants offer the following:

                              STATEMENT OF THE CASE

      At all times relevant to this lawsuit, Plaintiff Calvin Weaver was an inmate at

the C.T. Terrell Unit of the Texas Department of Criminal Justice (“TDCJ”) located

in Rosharon, Texas. He filed suit on May 16, 2018, pursuant to 42 U.S.C. § 1983,

alleging Defendants violated his due process rights and were deliberately indifferent

to his serious medical need. ECF No. 1 at 3–5; ECF No. 1-1 at 1. Specifically, Weaver

alleges he was diagnosed “as being hyper-allergic to the wool blanket issued by

TDCJ.” ECF No. 1 at 4. Weaver further claims he was issued a medical pass

approving his possession of a cotton blanket, which was not renewed in 2009. Id.

Weaver alleges that in 2009, TDCJ issued all inmates, who were allergic to wool, a

non-wool blanket “with a recycled blend of waste by-products.” Id. He further alleges
         Case 4:18-cv-01652 Document 11 Filed on 08/13/18 in TXSD Page 2 of 13



the new blankets caused him pain and suffering “due to unrelenting itching, which

caused acute and prolonged open sores, sleep deprivation, hypertension, and high

anxiety.” ECF No. 1 at 5. Weaver alleges Defendants are liable for the following:

     •    Doctor Kwabena Owusu “failed to report [an] inhumane policy instituted by
          contaminated blanket use.” ECF No. 1 at 3.

     •    Jose Gonzalez ignored his requests for relief from “extreme pain.” Id.

          Weaver failed to state whether he sues defendants in their individual or official

capacities. Thus, it is assumed he has filed suit against defendants in all capacities.

Weaver seeks injunctive relief requiring Defendants to replace the new blankets with

cotton blankets and a medical evaluation to be conducted by a third party for the

purpose of determining any long-term effects caused by his exposure to the new

blankets. ECF No. 1 at 5. Weaver further seeks injunctive relief requiring Defendants

to implement “training and [p]rocedural safeguards to prevent future denial of

adequate and appropriate medical treatment and therapy” for himself and any other

inmate affected by the use of the new blankets. Id. Weaver also seeks damages. Id.

                                         ARGUMENT

I.        Weaver’s claims against Defendants in their official capacities for
          damages should be dismissed pursuant to FED. R. CIV. P. 12(b)(1)
          because immunity has not been waived or abrogated.

          Neither a state nor a state official sued for damages in his or her official

capacity is a “person” for purposes of liability under 42 U.S.C. § 1983. Will v. Michigan

Dept. of State Police, 491 U.S. 58, 66 (1989). Furthermore, a suit for damages against

a state official in his or her official capacity is a suit against the State, not the

individual. Id.



                                        Page 2 of 13
      Case 4:18-cv-01652 Document 11 Filed on 08/13/18 in TXSD Page 3 of 13



       The Eleventh Amendment to the United States Constitution bars such suits

against a state unless the state has waived immunity or Congress has abrogated

immunity pursuant to its power under § 5 of the Fourteenth Amendment. Id. In

passing § 1983, Congress “had no intention to disturb the States’ Eleventh

Amendment immunity.” Id. Neither Congress nor the State of Texas has waived

Eleventh Amendment immunity under 42 U.S.C. § 1983. Therefore, Weaver’s claims

for damages against Dr. Owusu and Jose Gonzalez in their official capacities must be

dismissed for lack of subject-matter jurisdiction pursuant to Rule 12(b)(1). FED. R.

CIV. P. 12(b)(1).

II.    The Court should dismiss Weaver’s claims pursuant to FED. R. CIV. P.
       12(b)(6) because Weaver failed to state a claim upon which relief may
       be granted.

       A defendant is entitled to dismissal under FED R. CIV. P. 12(b)(6) when an

opposing party fails to state a claim upon which relief may be granted. The Court

views all well-pleaded facts in the light most favorable to the plaintiff. City of Clinton

v. Pilgrim’s Pride Corp., 632 F.3d 148, 152–53 (5th Cir. 2010). However, the plaintiff

is required to allege facts that support the elements of the cause of action to assert a

valid claim. Id.; see also Bell Atlantic v. Twombly, 550 U.S. 554, 570 (2007) (holding

a complaint must contain sufficient factual matter, accepted as true, to “state a claim

to relief that is plausible on its face”). The plausibility standard imposes a standard

higher than “a sheer possibility that a defendant has acted unlawfully.” Ashcroft v.

Iqbal, 556 U.S. 662, 679 (2009).




                                      Page 3 of 13
    Case 4:18-cv-01652 Document 11 Filed on 08/13/18 in TXSD Page 4 of 13



       When presented with a motion to dismiss for failure to state a claim, courts

should conduct a two-part analysis. First, the Court must accept all the complaint’s

well-pleaded facts as true. Id. at 677. However, the Court should disregard asserted

legal conclusions. Id. Second, a District Court must then determine whether the facts

alleged in the complaint are sufficient to show the plaintiff has a “plausible claim for

relief.” Id. at 679. In other words, a complaint must do more than allege the plaintiff

is entitled to relief. A complaint is required to show such an entitlement by providing

sufficient relevant facts rather than mere legal conclusions.

       The Supreme Court made clear in Iqbal, “[w]here the well-pleaded facts do not

permit the court to infer more than the mere possibility of misconduct, the complaint

has alleged—but it has not ‘show[n]’—'that the pleader is entitled to relief.”’ Id. This

“plausibility” determination will be “a context-specific task that requires the

reviewing court to draw on its judicial experience and common sense.” Id. Thus, in

considering a motion to dismiss the court must initially identify pleadings that are

simply legal conclusions not entitled to the assumption of truth, then assume the

veracity of well-pleaded factual allegations to determine whether those allegations

plausibly give rise to an entitlement to relief. If not, “the complaint has alleged—but

it has not ‘show[n]’—'that the pleader is entitled to relief.”’ Id.

       A.   Dr. Owusu and Jose Gonzalez are entitled to qualified immunity
            because Weaver failed to show their actions violated his
            constitutional rights.

       To the extent Weaver’s claims may be construed against Dr. Owusu and Jose

Gonzalez in their individual capacities, each is entitled to qualified immunity because




                                       Page 4 of 13
    Case 4:18-cv-01652 Document 11 Filed on 08/13/18 in TXSD Page 5 of 13



Weaver failed to state a claim for a constitutional violation. The doctrine of qualified

immunity affords protection against individual liability for civil damages “insofar as

their conduct does not violate clearly established statutory or constitutional rights of

which a reasonable person would have known. Harlow v. Fitzgerald, 457 U.S. 800,

818 (1982). Immunity in this sense means immunity from suit, not merely immunity

from liability. Jackson v. City of Beaumont Police Dept., 958 F.2d 616 (5th Cir. 1992).

“Qualified immunity is designed to shield from civil liability all but the plainly

incompetent or those who violate the law.” Brady v. Fort Bend County, 58 F.3d 173,

174 (5th Cir. 1995). “Once the defendant has [asserted qualified immunity as a

defense], the burden shifts to the plaintiff to rebut this defense by establishing that

the official’s allegedly wrongful conduct violated clearly established law.” Bazan ex

rel. Bazan v. Hidalgo Cnty., 246 F.3d 481, 489 (5th Cir. 2001). “We do not require that

an official demonstrate that he did not violate clearly established federal rights; our

precedent places that burden upon plaintiffs.” Pierce v. Smith, 117 F.3d 866, 872 (5th

Cir. 1997).

      Here, Plaintiff Weaver fails to plead facts that would permit the Court to infer

a constitutional violation occurred. Even when taking Plaintiff’s alleged facts as true,

he fails to state a plausible claim against Dr. Owusu or Jose Gonzalez. Because his

allegations fail to demonstrate a constitutional violation, Dr. Owusu and Jose

Gonzalez are entitled to qualified immunity and the claims against them should be

dismissed pursuant to 12(b)(6).




                                     Page 5 of 13
    Case 4:18-cv-01652 Document 11 Filed on 08/13/18 in TXSD Page 6 of 13



      B.   The Court should dismiss Weaver’s claims because he has failed
           to plead facts to support a claim for deliberate indifference.

      Deliberate indifference to a prisoner’s medical need is proscribed by the Eighth

Amendment. Estelle v. Gamble, 429 U.S. 97, 104–105 (1976); Jackson v. Cain, 864

F.2d 1235, 1244 (5th Cir. 1989). However, not every claim by a prisoner that he has

received inadequate medical treatment states a constitutional violation. Estelle, 429

U.S. at 105. To state a claim, Plaintiff must overcome a stringent standard of fault,

requiring him to show Defendants disregarded a known or obvious consequence of

their actions. Connick v. Thompson, 563 U.S. 51, 61 (2011); see also Farmer v.

Brennan, 511 U.S. 825, 837 (1994) (explaining a prison official can only be held liable

if he knows of and disregards an excessive risk to the inmate’s health or safety).

      Furthermore, a plaintiff must show a defendant’s actions rise above a

negligence standard. Hernandez v. Tex. Dep’t of Protective & Regulatory Servs., 380

F.3d 872, 883 (5th Cir. 2004) (quoting Alton v. Texas A&M Univ., 168 F.3d 196, 201

(5th Cir. 1999)) (holding “actions and decisions by officials that are merely inept,

erroneous, ineffective, or negligent do not amount to deliberate indifference and do

not divest officials of qualified immunity”).

      The Supreme Court has adopted the subjective recklessness test as used in

criminal law as the test for deliberate indifference under the Eighth Amendment’s

Cruel and Unusual Punishment Clause. Farmer, 511 U.S. at 839–40. “The criminal

law . . . generally permits a finding of recklessness only when a person disregards a

risk of harm of which he is aware.” Id. at 837. Thus, to establish a claim for deliberate

indifference, an inmate must prove that each defendant was both: (1) aware of facts



                                      Page 6 of 13
    Case 4:18-cv-01652 Document 11 Filed on 08/13/18 in TXSD Page 7 of 13



from which an inference of an excessive risk to the inmate’s health or safety could be

drawn; and (2) that they actually drew the inference that such potential for harm

existed. See Easter v. Powell, 467 F.3d 459, 463 (5th Cir. 2006) (quoting Farmer, 511

U.S. at 837); Harris v. Hegmann, 198 F.3d 153, 159 (5th Cir. 1999).

      The Fifth Circuit has explained that the high standard involved in showing

deliberate indifference requires a plaintiff to show a defendant “refused to treat him,

. . . intentionally treated him incorrectly, or engaged in any similar conduct that

would clearly evince a wanton disregard for any serious medical need.” Domino v.

Tex. Dep’t of Criminal Justice, 239 F.3d 752, 756 (5th Cir. 2001) (quoting Johnson v.

Treen, 759 F.2d 1236, 1238 (5th Cir. 1985). Furthermore, an inmate’s disagreement

with a physician about his medical treatment is insufficient to state a deliberate

indifference claim. Norton v. Dimazana, 122 F.3d 286, 292 (5th Cir. 1997); Banuelos

v. McFarland, 41 F.3d 232, 235 (5th Cir. 1995).

      Weaver failed to state a claim for which relief can be granted because he has

not alleged the facts required to state a claim for deliberate indifference to a serious

medical need. Weaver has failed to show Dr. Owusu or Jose Gonzalez refused to treat

him, intentionally treated him incorrectly, or acted with a wanton disregard for his

serious medical condition. Rather, Weaver has merely shown that he disagrees with

the treatment he was provided. Weaver’s pleaded facts, if true, show he had been

treated for an allergic reaction to wool when he was provided a medical pass for a

cotton blanket. ECF No. 1 at 4. Weaver was once again treated for his wool allergy in

2009 when TDCJ replaced all wool blankets with non-wool blankets and discontinued




                                     Page 7 of 13
    Case 4:18-cv-01652 Document 11 Filed on 08/13/18 in TXSD Page 8 of 13



the policy of providing cotton blankets. ECF No. 1 at 4, 9. Thus, Weaver has failed to

plead anything other than his disagreement with the treatment he received and the

Court should dismiss his claims pursuant to Rule 12(b)(6). FED. R. CIV. P. 12(b)(6).

             i.    Weaver fails to state a claim against Dr. Owusu because he
                   failed to show Owusu knowingly provided inadequate
                   treatment or refused to treat him.

      Insofar as Weaver asserts a claim of deliberate indifference against Dr. Owusu

his claim fails because he has failed to plead facts that would satisfy a deliberate

indifference claim. Weaver alleges that Dr. Owusu “[f]ailed to report inhumane policy

instituted by contaminated blanket use.” ECF No. 1 at 3. However, Weaver does not

allege Dr. Owusu refused to treat him, treated him inadequately, or was personally

involved in any other act that would satisfy a claim for deliberate indifference. See

generally ECF No. 1. Thus, he failed to plead facts that would satisfy the

requirements for a deliberate indifference claim against Dr. Owusu and the Court

should grant Defendants’ motion pursuant to Rule 12(b)(6). FED. R. CIV. P. 12(b)(6).

             ii.   Weaver’s claim against Jose Gonzalez fails because he
                   failed to plead facts showing Gonzalez refused to treat him
                   with knowledge it would harm Weaver.

      Insofar as Weaver claims Jose Gonzalez refused to treat his serious medical

condition, his claim should be dismissed because he failed to allege Gonzalez was

aware of facts from which an inference of an excessive risk to Weaver’s health or

safety could have been drawn; and he failed to allege that Gonzalez actually drew the

inference that such potential for harm existed. See Easter, 467 F.3d at 463 (quoting

Farmer, 511 U.S. at 837); Harris, 198 F.3d at 159. Instead, Weaver concludes that




                                    Page 8 of 13
    Case 4:18-cv-01652 Document 11 Filed on 08/13/18 in TXSD Page 9 of 13



Gonzalez “[i]gnored repeated outcries by petitioner for relief from extreme pain and

suffering.” ECF No. 1 at 3. Furthermore, Weaver failed to personally link Gonzalez

to a refusal to issue him a cotton blanket or the refusal to treat him for any medical

conditions resulting from an allergic reaction to either the wool blanket or the new

blanket. See generally ECF No. 1. Thus, Weaver has failed to state a claim for

deliberate indifference against Jose Gonzalez and the Court should dismiss his claim

pursuant to Rule 12(b)(6). FED. R. CIV. P. 12(b)(6).

      C.   Weaver failed to state a Due Process claim because he failed to
           allege that he was deprived of a liberty interest.

      In order to establish a due process violation under the Fourteenth Amendment,

a plaintiff must offer proof of: (1) a deprivation of a protected interest; and (2) an

absence of due process. Logan v. Zimmerman Brush Co., 455 U.S. 422, 428 (1982).

The Supreme Court has held that under certain circumstances, the States may create

liberty interests that are protected by the Due Process Clause. Sandin v. Conner, 515

U.S. 472, 484 (1995). However, such interests “are generally limited to state created

regulations or statutes which affect the quantity of time rather than the quality of

time served by a prisoner.” Madison v. Parker, 104 F.3d 765, 767 (5th Cir. 1997).

      Here, Weaver merely concludes the Defendants’ actions constitute an “absolute

denial of due process in the denial of the services alleged.” ECF No. 1 at 5. Weaver

does not claim that the duration of his sentence was affected or that he was deprived

of a liberty interest. Rather, Weaver is complaining about the conditions of his

confinement. Thus, he has failed to plead any facts that would implicate due process




                                     Page 9 of 13
    Case 4:18-cv-01652 Document 11 Filed on 08/13/18 in TXSD Page 10 of 13



concerns. As such, the Court should dismiss Weaver’s claims against Dr. Owusu and

Jose Gonzalez pursuant to Rule 12(b)(6). FED. R. CIV. P. 12(b)(6).

      D.    Plaintiff’s claims against Dr. Owusu and Jose Gonzalez are
            outside of the applicable statute of limitations.

      Plaintiff’s suit must be limited only to claims which arise during the applicable

statute of limitations, which serves as an absolute bar to suit. Nottingham v.

Richardson, 499 Fed.App’x 368, 375 (5th Cir. 2012).

      For § 1983 suits, “state law supplies the applicable limitations period and

tolling provisions.” Harris, 198 F.3d at 157. Federal law, however, determines when

the cause of action accrues. Id. at 156–157.

      “The limitations period for a claim brought under section 1983 is determined

by the general statute of limitations governing personal injuries in the forum state.”

Price v. City of San Antonio, 431 F.3d 890, 892 (5th Cir. 2005). Texas law has a two-

year period of limitations for personal injury. Tex. Civ. Prac. & Rem. Code § 16.003.

Consequently, the limitations period for a claim brought under Section 1983 in Texas

is two years. Price, 431 F.3d at 892; Ogletree v. Glen Rose Indep. Sch. Dist., 314

S.W.3d 450, 454 (Tex. App.—Waco 2010, pet. denied).

      Federal law provides that “a cause of action accrues the moment the plaintiff

knows or has reason to know of the injury that is the basis of his complaint.” Helton

v. Clements, 832 F.2d 332, 334–35 (5th Cir. 1987) (citing Rubin v. O’Koren, 621 F.2d

114, 116 (5th Cir. 1980); Drayden v. Needville Indep. Sch. Dist., 642 F.2d 129, 132

(5th Cir. 1981)).




                                    Page 10 of 13
    Case 4:18-cv-01652 Document 11 Filed on 08/13/18 in TXSD Page 11 of 13



      Plaintiff’s claims against Dr. Owusu and Jose Gonzalez all arise sometime in

2009 when he was denied a renewal of his medical pass for a cotton blanket and was

issued a non-wool blanket. ECF No. 1 at 4. Weaver alleges that he has “battled” with

prison security and medical personal over his issues with the blanket for ten years.

ECF No. 1 at 5. Thus, Weaver knew about or had reason to know about the injuries

that make up the basis of his claims approximately ten years ago and he should have

known about the injuries no later than the end of 2009.

      In order to fall within the applicable statute of limitations Plaintiff needed to

file suit by the end of 2011. However, Weaver failed to timely file suit and waited

until May 18, 2018, to do so. ECF No. 1-1 at 1. Because Plaintiff did not file his suit

within the applicable statute of limitations, Plaintiff’s claims against Dr. Owusu and

Jose Gonzalez should be dismissed entirely.

                                    CONCLUSION

      Weaver’s claims for damages against Defendants Owusu and Gonzalez, in

their official capacity, are barred by the Eleventh Amendment and should be

dismissed pursuant to Rule 12(b)(1) for lack of jurisdiction. Weaver’s factual

allegations against Defendants fail to state a cognizable constitutional violation.

Thus, Defendants are entitled to qualified immunity. Additionally, Weaver failed to

file his claim within the applicable statute of limitations. Thus, his claims should

accordingly be dismissed pursuant to Rule 12(b)(6).

      As such, Defendants Owusu and Gonzalez respectfully pray that all claims

against them be dismissed with prejudice, and for such other relief as justice may




                                    Page 11 of 13
   Case 4:18-cv-01652 Document 11 Filed on 08/13/18 in TXSD Page 12 of 13



require. Should any part of this motion to dismiss be denied, Defendants reserve their

right to answer the claims against them and assert their affirmative defenses and

entitlements to qualified immunity.

Date: August 13, 2018

                                       Respectfully submitted,

                                       KEN PAXTON
                                       Attorney General of Texas

                                       JEFFREY C. MATEER
                                       First Assistant Attorney General

                                       BRANTLEY STARR
                                       Deputy First Assistant Attorney General

                                       JAMES E. DAVIS
                                       Deputy Attorney General for Civil Litigation

                                       SHANNA E. MOLINARE
                                       Assistant Attorney General
                                       Chief, Law Enforcement Defense Division

                                       /s/ Wesley D. Lunkley
                                       WESLEY D. LUNKLEY
                                       Assistant Attorney General
                                       Texas Bar No. 24106232
                                       Southern District No. 3182497

                                       Law Enforcement Defense Division
                                       P. O. Box 12548
                                       Austin, Texas 78711-2548
                                       (512) 475-1355 / (512) 370-9381 Fax
                                       Wesley.Lunkley@oag.texas.gov

                                       Attorneys for Defendants Kwabena
                                       Owusu and Jose Gonzalez




                                    Page 12 of 13
   Case 4:18-cv-01652 Document 11 Filed on 08/13/18 in TXSD Page 13 of 13



                      NOTICE OF ELECTRONIC FILING

      I, WESLEY D. LUNKLEY, Assistant Attorney General of Texas, certify that

I have electronically submitted for filing Defendants Owosu and Gonzalez’

Motion to Dismiss Pursuant to Rule 12(b) to the Court, August 13, 2018, in the

Southern District of Texas, Houston Division.

                                      /s/ Wesley D. Lunkley
                                      WESLEY D. LUNKLEY
                                      Assistant Attorney General




                         CERTIFICATE OF SERVICE

      I, WESLEY D. LUNKLEY, Assistant Attorney General of Texas, do hereby

certify that a true and correct copy of the above and foregoing Defendants Owosu

and Gonzalez’ Motion to Dismiss Pursuant to Rule 12(b) has been served by

placing same in the United States Mail, postage prepaid on August 13, 2018,

addressed to:

Calvin Weaver, TDCJ No. 820796
C.T. Terrell Unit
1300 FM 655
Rosharon, Texas 77583
Plaintiff Pro Se
                                      /s/ Wesley D. Lunkley
                                      WESLEY D. LUNKLEY
                                      Assistant Attorney General




                                  Page 13 of 13
